  Case: 1:24-cv-06795 Document #: 428 Filed: 06/03/25 Page 1 of 51 PageID #:3694




                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

In re MULTIPLAN HEALTH                    )
INSURANCE PROVIDER                        )              Case No. 24 C 6795
LITIGATION                                )


                    CASE MANAGEMENT ORDER NO. 14 –
              Memorandum Opinion and Order on motions to dismiss

MATTHEW F. KENNELLY, District Judge:

       This opinion concerns two complaints—a consolidated class action complaint

and a consolidated direct action complaint—brought by healthcare providers against

MultiPlan, Inc. and several organizations that contract with MultiPlan to facilitate the

purchase of out-of-network healthcare services. The class action plaintiffs have sued

the defendants for antitrust violations under section 1 of the Sherman Act. The direct

action plaintiffs also assert a section 1 Sherman Act claim as well as state-law antitrust,

consumer protection, and unjust enrichment claims. The class action plaintiffs name

MultiPlan and the following contracting parties as defendants: Aetna, Inc., The Cigna

Group, UnitedHealth Group, Inc., and members of the Blue Cross Blue Shield

Association. The direct action plaintiffs make their claims against those defendants, as

well as: Cambia Health Solutions, Inc., CareFirst, Inc., Centene Corp., Health Care

Service Corp., Highmark Health, Humana Inc., Kaiser Foundation Health Plan, Inc.,

Molina Healthcare, Inc., Sanford Health Plan, Allied National, LLC, Benefit Plans

Administrators of Eau Claire, LLC, Central States Southeast and Southwest Areas

Health and Welfare Fund, Consociate, Inc., Healthcare Highways Health Plan, LLC, and

Secure Health Plans of Georgia, LLC.
   Case: 1:24-cv-06795 Document #: 428 Filed: 06/03/25 Page 2 of 51 PageID #:3695




          The defendants have filed motions to dismiss both complaints. For the reasons

below, the Court denies the defendants' motions to dismiss the federal and state

antitrust claims and the state consumer protection claims, but grants the motion to

dismiss the unjust enrichment claims.

                                         Background

          At the motion to dismiss stage, the Court accepts all well-pled factual allegations

as true. Ashcroft v. al-Kidd, 563 U.S. 731, 734 (2011). The plaintiffs are healthcare

providers, such as doctors. They provide healthcare services to patients in exchange

for a fee. Patients, however, often do not fully pay for a provider's services. In the

United States, the vast majority of healthcare services are instead paid by a commercial

third-party payor.

          Third-party payors come in many forms and labels. If they directly pay for a

subscriber's / patient's healthcare services, the best label would be "insurer." But a so-

called "insurer" might instead offer a self-funded administrative-service-only health plan,

in which case the "insurer" does not provide insurance, but just administrative services

for a fully-paying entity—typically an employer on behalf of its employees. In this

scenario, the "insurer" is better labelled a "managed care organization" (MCO), as it

provides administrative services to the employer but does not directly pay for healthcare

services (i.e., does not "insure" any patient / employee). Employers may further

complicate the picture by using a "third-party administrator" (TPA) to handle the

administrative services detailed in their health plans, as opposed to using the MCO

itself.

          No matter the label, these third-party payors all engage in one activity relevant to



                                                2
     Case: 1:24-cv-06795 Document #: 428 Filed: 06/03/25 Page 3 of 51 PageID #:3696




this dispute: they negotiate payments for healthcare services. To ensure predictable

costs, third-party payors will often pre-negotiate the rate for certain healthcare providers'

services through contracts between themselves and providers. These providers thus

become a part of a payor's "network." A payor's subscribers who use providers within

the payor's network receive "in-network" services for which a payor and provider have

already agreed on the price. These pre-negotiated agreements are mutually beneficial,

as payors incentivize their subscribers to use in-network providers' services, while

providers offer payors discounted rates to be a part of such networks.

         Not all providers, however, agree to pre-negotiate their rates with third-party

payors. Providers may feel that the pre-negotiated compensation rates are too low or

that the in-network boost in patients does not justify discounting their rates. Absent in-

network discounts, healthcare services provided "out of network" end up being more

expensive than comparable in-network services. In this circumstance, some third-party

payors choose not to cover any non-negotiated, out-of-network services. Yet many

payors, hoping to maximize their subscriber base, will cover out-of-network services to a

certain extent.

A.       UCR benchmarks

         The lack of a pre-negotiated contract makes payment for out-of-network services

more complex than for in-network services. Historically, third-party payors used "usual,

customary, and reasonable" (UCR) benchmarks as a starting point for negotiations.

UCR benchmarks are pegged to public retail medical charge data for similar healthcare

services performed in the same geographic area.

         Once a third-party payor calculated a UCR rate for a healthcare service, it would



                                               3
  Case: 1:24-cv-06795 Document #: 428 Filed: 06/03/25 Page 4 of 51 PageID #:3697




offer some downward variation of that rate to the provider as payment, usually 80% to

90% of the suggested UCR rate. If a provider determined the rate offered was fair, it

could accept that rate as full payment. But providers could also accept the third-party

payor's rate as partial payment and seek additional compensation from a patient—a

process called "balance billing."

       Prior to 1997, payors used retail charge data from two independent databases to

calculate UCR benchmarks: the Prevailing Healthcare Charges System and Medical

Data Resource. Third-party payor UnitedHealth Group, however, purchased these

databases in 1998. United then consolidated these databases into its subsidiary,

Ingenix.

       For roughly a decade, Ingenix was the primary data set payors used to calculate

out-of-network rates. Yet the UCR rates produced by Ingenix were lower than

healthcare providers expected. This, in turn, led to patients receiving larger bills from

providers via balance billing.

       The increased costs for patients sparked an investigation into Ingenix by the New

York Attorney General. The investigation ultimately culminated in a settlement between

the New York Attorney General and United in 2009. Under the settlement, United

agreed to shut down Ingenix and contribute $50 million to the formation of an

independent organization, FAIR Health, which took ownership of Ingenix's consolidated

UCR database. United was further required to use FAIR Health's database for

calculating UCR benchmarks for at least five years. The New York Attorney General

reached similar settlements with other third-party payors that had used Ingenix,

including Aetna, Cigna Group, and Elevance, a Blue Cross Blue Shield Association



                                             4
     Case: 1:24-cv-06795 Document #: 428 Filed: 06/03/25 Page 5 of 51 PageID #:3698




member. These settlements also required the third-party payors to use FAIR Health's

database for at least five years.

B.       MultiPlan

         MultiPlan offers an alternative method for calculating a third-party payor's out-of-

network rate through its Data iSight algorithm. Data iSight calculates rates by

referencing both the cost of the service to the provider and the median payment for

similar services rendered. Using these metrics, the Data iSight algorithm tends to

produce lower payment rates than UCR benchmarks like FAIR Health.

         Third-party payors can tweak the Data iSight algorithm by using overrides.

These overrides can set a floor or ceiling on the calculated rate (e.g., "Don't Pay More /

Less Than X% of Claim's Cost"). Payors can also select rate calculations that differ

from Data iSight's default calculation, such as by instead pegging the rate calculated to

"X% of Medicare Reimbursement." Class Action Compl. ¶¶ 155–164; Direct Action

Compl. ¶¶ 323–325.

         If a third-party payor agrees to use a Data iSight calculated rate, MultiPlan also

offers to negotiate the rate with providers on behalf of the payor. When negotiating with

providers, MultiPlan will condition all payments on a provider's agreement not to

balance bill the patient, meaning the provider will accept a MultiPlan negotiated rate as

full payment. The plaintiffs allege that MultiPlan's rates are given on a take-it-or-leave it

basis; providers have not been successful in convincing MultiPlan to deviate from a

Data iSight calculated rate. Still, a provider can decline MultiPlan's offer and seek

payment directly from the patient and his or her insurer in accordance with the patient's

health plan.



                                               5
     Case: 1:24-cv-06795 Document #: 428 Filed: 06/03/25 Page 6 of 51 PageID #:3699




         As third-party payors' five-year obligation to use FAIR Health's UCR benchmark

expired, they shifted over to MultiPlan's rate calculation and negotiation services.

Cigna, for example, completed its obligation to use FAIR Health in early 2015. On April

1 of that year, Cigna contracted with MultiPlan to use its Data iSight algorithm and

negotiation services. By 2018, hundreds of third-party payors, including United, Aetna,

and Blue Cross Blue Shield Association members, had contracts with MultiPlan.

MultiPlan grew to having contracts with over 700 third-party payors, including the top 15

payors. In 2019, it processed over 80% of out-of-network healthcare service payments.

C.       The present suits

         Healthcare providers filed multiple lawsuits against MultiPlan and several third-

party payors that use MultiPlan's rate calculation and negotiation services. In August

2024, the Judicial Panel on Multidistrict Litigation centralized these lawsuits before the

undersigned judge.

         At issue in this opinion are two complaints: a consolidated class action complaint

and a consolidated master direct action complaint. The class action plaintiffs allege on

behalf of themselves and similarly situated healthcare providers that MultiPlan and third-

party payors violated federal antitrust law by agreeing to fix the prices paid for out-of-

network healthcare services. The direct action plaintiffs allege that MultiPlan and third-

party payors violated federal antitrust law, state antitrust laws, state consumer

protection laws, and state unjust enrichment laws. The class action plaintiffs make

allegations only against MultiPlan, insurers, and MCOs, while the direct action plaintiffs

make allegations against TPAs as well.

         The defendants have moved to dismiss both complaints.



                                              6
     Case: 1:24-cv-06795 Document #: 428 Filed: 06/03/25 Page 7 of 51 PageID #:3700




                                         Discussion

         To survive a motion to dismiss, the complaint must "state a claim to relief that is

plausible on its face." Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl.

Corp. v. Twombly, 550 U.S. 544, 570 (2007)). For a claim to have "facial plausibility," a

plaintiff must "plead[] factual content that allows the court to draw the reasonable

inference that the defendant is liable for the misconduct alleged." McCauley v. City of

Chicago, 671 F.3d 611, 615 (7th Cir. 2011) (quoting Iqbal, 556 U.S. at 678). The Court

views the complaint in "the light most favorable to the plaintiff, taking as true all well-

pleaded factual allegations and making all possible inferences from the allegations in

the plaintiff's favor." AnchorBank, FSB v. Hofer, 649 F.3d 610, 614 (7th Cir. 2011).

A.       Federal antitrust claims

         The bulk of both complaints and the motions to dismiss briefing are spent on the

plaintiffs' federal antitrust claims. To plead a federal antitrust claim under section 1 of

the Sherman Act, the plaintiffs must plausibly allege "(1) that defendants had a contract,

combination, or conspiracy ('an agreement'); (2) that as a result, trade in the relevant

market was unreasonably restrained; and (3) that they were injured." See Omnicare,

Inc. v. UnitedHealth Grp., 629 F.3d 697, 705 (7th Cir. 2011). The defendants contend

the plaintiffs have not asserted a viable federal antitrust claim because they have not

plausibly alleged: (1) antitrust standing and injury, (2) a relevant market, and (3) an

agreement that violates federal antitrust law.

         1.     Antitrust standing and injury

         Antitrust violations can create wide-reaching injuries, as their effects "cause

ripples of harm to flow through the Nation's economy." McGarry & McGarry, LLC v.



                                               7
  Case: 1:24-cv-06795 Document #: 428 Filed: 06/03/25 Page 8 of 51 PageID #:3701




Bankr. Mgmt. Sols., Inc., 937 F.3d 1056, 1064 (7th Cir. 2019) (quoting Blue Shield of

Va. v. McCready, 457 U.S. 465, 477 (1982)). Despite this, "Congress did not intend to

allow every person tangentially affected by an antitrust violation to maintain an action"

under federal antitrust law. Id. (quoting McCready, 457 U.S. at 477). The Supreme

Court has thus established "additional rules" for determining "whether the plaintiff is the

proper party to bring a private antitrust action" in the form of antitrust standing and

injury. Loeb Indus., Inc. v. Sumitomo Corp., 306 F.3d 469, 481 (7th Cir. 2002) (quoting

Associated Gen. Contractors of Cal., Inc. v. Cal. State Council of Carpenters, 459 U.S.

519, 535 n.31 (1983) ("AGC")).

              a.     Antitrust standing

       Antitrust standing "examines the connection between the asserted wrongdoing

and the claimed injury to limit the class of potential plaintiffs to those who are in the best

position to vindicate the antitrust infraction." Greater Rockford Energy & Tech. Corp. v.

Shell Oil Co., 998 F.2d 391, 395 (7th Cir. 1993). Courts consider several factors in

analyzing a plaintiff's antitrust standing, including: "(1) the causal connection between

the violation and the harm; (2) the presence of improper motive; (3) the type of injury

and whether it was one Congress sought to redress; (4) the directness of the injury;

(5) the speculative nature of the damages; and (6) the risk of duplicate recovery or

complex damage apportionment." Loeb Indus., 306 F.3d at 484 (citing AGC, 459 U.S.

at 537–45). The defendants focus their attacks on two of these factors: the directness

of the injury and the risk of duplicate recovery.

                     i.      Direct injury

       The defendants argue that providers are not directly injured by the alleged third-



                                              8
  Case: 1:24-cv-06795 Document #: 428 Filed: 06/03/25 Page 9 of 51 PageID #:3702




party payor agreement to fix prices because they can always seek full payment from the

patient. The defendants cite three out-of-circuit cases to support this contention.

       In In re WellPoint, Inc. Out-of-Network UCR Rates Litigation, 903 F. Supp. 2d

880 (C.D. Cal. 2012), a judge in the Central District of California found that providers

lacked antitrust standing to bring a price-fixing claim against third-party payors, partly

due to the lack of direct injury. Id. at 902. The district court determined that patients

who subscribed to third-party payors were the more direct victims, as they would be

responsible for the remaining payment if payors artificially depressed rates. Id. The

court also found these patients were motivated to sue third-party payors due to the

higher costs for services they faced, suggesting that provider lawsuits were

unnecessary for antitrust enforcement. Id.

       A judge in the Northern District of California came to a similar conclusion in

Pacific Recovery Solutions v. United Behavioral Health, 481 F. Supp. 3d 1011 (N.D.

Cal. 2020). The court emphasized that the providers had alleged "the direct victims of

the alleged [antitrust violation] were '[the third-party payor]'s members' (i.e., plaintiffs'

patients)." Id. at 1022. Based on this allegation, the court concluded that providers'

injuries were derivative of the injuries of patients, as the providers were underpaid only

if the patients failed to pay the remaining amount after a third-party payor's alleged

underpayment. Id.

       Finally, another court in the Northern District of California reached the same

conclusion in Pacific Recovery Solutions v. Cigna Behavioral Health, Inc., No. 5:20 C

2251 EJD, 2021 WL 1176677 (N.D. Cal. Mar. 29, 2021). Relying on In re WellPoint, the

court concluded that the patients were the more direct victims of an alleged third-party



                                               9
 Case: 1:24-cv-06795 Document #: 428 Filed: 06/03/25 Page 10 of 51 PageID #:3703




payor price-fixing agreement and that the providers' injuries arose "only to the extent

that their patients do not pay the amounts . . . not reimburse[d]." Id. at *12.

       These cases are all distinguishable, as the providers in this case allege they

cannot accept the third-party payor's proposed payment and then bill the patient for any

amount remaining due. Specifically, the providers allege that when MultiPlan negotiates

on behalf of payors, it conditions payment on a provider's agreement to not "balance bill

patients for the unpaid portions of their claims." Class Action Compl. ¶ 11; see also

Direct Action Compl. ¶ 339. This is a critical difference from the cases the defendants

cite—the providers in this case allege they cannot seek the remaining balance from

patients if they accept a third-party payor's payment through MultiPlan.

       The defendants maintain that this is a distinction without a difference. They

contend the providers can still reject a third-party payor's payment and seek full

compensation from the patient, meaning that a provider would be injured only if the

patient fails to pay.

       This argument, however, ignores the practical effect of MultiPlan's balance billing

prohibition. A provider given the option between guaranteed partial payment from a

third-party payor and the mere possibility of full payment from a patient will likely choose

the guaranteed payment even if it is below the market rate for the provider's services.

The fact that providers allegedly accept MultiPlan's initial payment offer over 95% of the

time indicates as much—a provider would not accept an allegedly unduly low amount

conditioned on an agreement not to balance bill the patient if the provider believed it

could procure the full amount from the patient.

       The defendants attempt to rebut this reasoning by noting there are no specific



                                             10
 Case: 1:24-cv-06795 Document #: 428 Filed: 06/03/25 Page 11 of 51 PageID #:3704




allegations that third-party payors are more capable of paying for healthcare services

than patients. Yet there is little doubt that commercial third-party payors have greater

resources than the average patient. A court need not ignore this reality when ruling on

a motion to dismiss. See 42nd Parallel N. v. E St. Denim Co., 286 F.3d 401, 406 (7th

Cir. 2002) (noting a court is "not required to don blinders and to ignore commercial

reality" when considering a motion to dismiss); Iqbal, 556 U.S. at 679 (noting that a

court should "draw on its judicial experience and common sense" when determining

whether a plaintiff alleges a plausible claim for relief).

          MultiPlan's balance billing prohibition indicates that providers are the directly

injured parties for another reason: it prevents patients from feeling the effect of the

alleged price-fixing agreement. Because providers believe that their only real option for

payment is from third-party payors who condition payment on not charging the patient,

patients are likely to be oblivious to the fact that third-party payors are allegedly

underpaying for provided healthcare services. Unlike the cases the defendants cite,

patients in this case have no real incentive to sue third-party payors for alleged

underpayment, as the balance billing prohibition prevents them from being stuck with

the bill. Providers are thus the only private parties under this scenario that have an

incentive to enforce antitrust law.

          Because the alleged balance billing prohibition prevents providers from seeking

the remaining payment from patients and shields patients from the consequences of the

alleged third-party payor price-fixing agreement, the providers have alleged a direct

injury.




                                                11
 Case: 1:24-cv-06795 Document #: 428 Filed: 06/03/25 Page 12 of 51 PageID #:3705




                       ii.     Duplicate recovery

       The defendants also contend that providers would receive duplicative recovery

because they could sue third-party payors for antitrust violations while also collecting

payment from patients, creating a windfall. The duplicate recovery factor, however, is

not concerned with plaintiffs recovering damages beyond compensating their injuries—

the fact that antitrust law "provides a treble-damages remedy" indicates as much. See

McGarry & McGarry, 937 F.3d at 1063; 15 U.S.C. § 15 ("[A]ny person who shall be

injured . . . by reason of anything forbidden in the antitrust laws . . . shall recover

threefold the damages . . . ."). Instead, the duplicate recovery factor considers whether

a defendant would be subject to multiple suits by different plaintiffs for the same

antitrust injury. See AGC, 459 U.S. at 543–44 (discussing the prohibition on "indirect

purchasers" suing for antitrust violations when explaining the need to avoid "duplicate

recoveries," as allowing indirect purchasers to sue "create[s] the danger of multiple

liability . . . and prejudice to absent plaintiffs").

       The defendants argue in a footnote that there is a risk of multiple suits, as both a

provider and patient could sue for underpayment. But as discussed above, patients

lack an incentive to sue the defendants because the balance billing prohibition prevents

them from shouldering the costs of the alleged price-fixing agreement. Because

patients do not feel the effects of the alleged third-party payor price-fixing agreement,

the risk that other parties will sue the defendants is low.

                                          *       *     *

       The Court finds that the providers have plausibly alleged a direct injury and that

there is little risk of duplicate recovery. There are no other antitrust standing factors in



                                                 12
 Case: 1:24-cv-06795 Document #: 428 Filed: 06/03/25 Page 13 of 51 PageID #:3706




dispute. The Court therefore finds the plaintiffs have plausibly alleged they have

antitrust standing.

              b.      Antitrust injury

       Antitrust injury requires a plaintiff allege injuries that are "of the type the antitrust

laws were intended to prevent and reflect the anticompetitive effect of either the

violation or of anticompetitive acts made possible by the violation." Viamedia, Inc. v.

Comcast Corp., 951 F.3d 429, 481 (7th Cir. 2020) (citation omitted). Because antitrust

law "protect[s] . . . competition, not competitors," Brown Shoe Co. v. United States,

370 U.S. 294, 320 (1962), "mere economic loss does not amount to an antitrust injury."

Marion Diagnostic Ctr., LLC v. Becton Dickinson & Co., 29 F.4th 337, 345 n.7 (7th Cir.

2022). Instead, a plaintiff must allege an injury that "stems from a competition-reducing

aspect or effect of the defendant's behavior." Chi. Studio Rental, Inc. v. Ill. Dep't of

Com., 940 F.3d 971, 978 (7th Cir. 2019) (quoting Atl. Richfield Co. v. USA Petrol. Co.,

495 U.S. 328, 344 (1990)).

       The defendants first argue that the providers do not allege they received below-

market payments because of the alleged price-fixing agreement. The plaintiffs squarely

allege they received "unreasonably low compensation amounts" from third-party payors

who utilize MultiPlan's services. Class Action Compl. ¶¶ 20–21; see also Direct Action

Compl. ¶¶ 662–664 (alleging "massive[] underpay[ment]" from third-party payors who

use MultiPlan). The plaintiffs need not allege more at this stage of review. "[A] seller

sufficiently alleges antitrust injury by pleading that it has received excessively low prices

from members of the buyers' cartel." Omnicare, Inc. v. UnitedHealth Grp., 524 F. Supp.

2d 1031, 1040 (N.D. Ill. 2007) (collecting cases); In re Delta Dental Antitrust Litig.,



                                               13
 Case: 1:24-cv-06795 Document #: 428 Filed: 06/03/25 Page 14 of 51 PageID #:3707




484 F. Supp. 3d 627, 642 (N.D. Ill. 2020) (same).

       The defendants disagree, contending that what the plaintiffs want is not market

rates, but supposedly inflated UCR benchmark rates. Yet nowhere in the complaints do

the plaintiffs request that the Court reinstate these prior benchmarks. The providers

instead ask that third-party payors refrain from participating in an alleged price-fixing

agreement by discontinuing their use of MultiPlan's services. What method or process

the third-party payors elect instead would be up to each individual payor.

       Moreover, the fact that a system used prior to MultiPlan's entry onto the scene

was supposedly also not competitive cannot justify an alleged price-fixing scheme. "It

has long been settled that an agreement to fix prices is unlawful per se." Catalano, Inc.

v. Target Sales, Inc., 446 U.S. 643, 647 (1980). Price-fixing agreements between

competitors cannot be justified at all, let alone by the argument that currently-fixed

prices are more "reasonable." Id.; see also United States v. Socony-Vacuum Oil Co.,

310 U.S. 150, 223 (1940) (noting that price fixing is illegal per se even if justified by the

need to "stabilize" the market, as "stabilization is but one form of manipulation").

       Finally, the defendants argue that even if providers are getting below-market

payments, the plaintiffs fail to allege the lesser payments are due to a harm to

competition. Rather, the defendants contend, MultiPlan's services actually increase

competition by providing another rate-calculation option. They further emphasize that

using MultiPlan is beneficial, as it lowers costs to third-party payors and their

subscribers / patients.

       The plaintiffs, whose factual allegations must be taken as true at the motion to

dismiss stage, plausibly allege the opposite. Rather than just another payment option,



                                             14
 Case: 1:24-cv-06795 Document #: 428 Filed: 06/03/25 Page 15 of 51 PageID #:3708




the plaintiffs allege MultiPlan is the dominant force in the market, having agreements

with over 700 third-party payors and processing over 80% of out-of-network service

payments. Class Action Compl. ¶ 273; Direct Action Compl. ¶ 567. By using MultiPlan,

these third-party payors allegedly "stop competing against each other on pricing for out-

of-network . . . services" by delegating their "independent judgment on how much to

pay" to MultiPlan. Direct Action Compl. ¶ 2; see also Class Action Compl. ¶ 195

(alleging third-party payors "delegate to MultiPlan the authority to determine out-of-

network compensation rates and negotiate those rates with providers," "facilitating their

collective action"). Whether MultiPlan facilitates a third-party payor price-fixing

agreement or is simply another pricing option for payors is thus a factual dispute that

cannot be resolved on a motion to dismiss.

       Nor can the defendants justify an alleged price-fixing agreement by touting lower

prices for its members and patients. "Every precedent in the field makes clear that the

interaction of competitive forces, not price-rigging, is what will benefit consumers." W.

Penn. Allegheny Health Sys., Inc. v. UPMC, 627 F.3d 85, 105 (3d Cir. 2010) (quoting

Knevelbaard Dairies v. Kraft Foods, Inc., 232 F.3d 979, 988 (9th Cir. 2000)); see also

Knevelbaard Dairies, 232 F.3d at 989 ("Clearly mistaken is the occasional court that

considers low buying prices pro-competitive or that thinks sellers receiving illegally low

prices do not suffer antitrust injury.") (citation omitted). And again, a competitor price-

fixing agreement cannot be justified, period—price fixing is illegal per se. Catalano,

446 U.S. at 647.

       For these reasons, the Court finds the plaintiffs have plausibly alleged an

antitrust injury.



                                             15
 Case: 1:24-cv-06795 Document #: 428 Filed: 06/03/25 Page 16 of 51 PageID #:3709




       2.      Relevant market

               a.     Need for a market

       The defendants next contend that the plaintiffs fail to plausibly allege a relevant

market. The plaintiffs first attempt to sidestep this argument entirely by contending that

no market definition is required for an alleged price-fixing agreement among

competitors. This is incorrect.

       The "entire point" of antitrust law is "to protect competition in the commercial

arena." Agnew v. Nat'l Collegiate Athletic Ass'n, 683 F.3d 328, 337 (7th Cir. 2012).

"[W]ithout a commercial market, the goals of [antitrust law] have no place." Id.

       The plaintiffs' cited cases do not contradict this. Instead, they stand for the

proposition that a plaintiff need not allege market power when alleging a price-fixing

agreement among competitors. See Omnicare, 524 F. Supp. 2d at 1042 ("[A] buyers'

conspiracy to fix prices, which is alleged here, is per se unlawful, so that no proof of

market control need be offered.") (emphasis added); Conrad v. Jimmy John's

Franchise, LLC, No. 18 C 133 NJR, 2021 WL 718320, at *22 (S.D. Ill. Feb. 24, 2021)

("Antitrust law may condemn some conduct, such as naked price-fixing . . . among

competitors, with little or no inquiry into market power of the participant . . . .") (citation

omitted) (emphasis added).

       Allegations concerning the market power of the alleged conspirators are

unnecessary for competitor price-fixing claims because the simple agreement to fix

prices satisfies the "conspiracy" element of the antitrust violation, whether or not the

conspiring parties actually had the power to fix prices. Socony-Vacuum, 310 U.S. at

224 n.59 ("It is the 'contract, combination . . . or conspiracy, in restraint of trade or



                                               16
 Case: 1:24-cv-06795 Document #: 428 Filed: 06/03/25 Page 17 of 51 PageID #:3710




commerce' which [section] 1 of the [Sherman] Act strikes down, whether the concerted

activity be wholly nascent or abortive on the one hand, or successful on the other.").

And although market power is usually required to establish "the relevant market was

unreasonably restrained," competitor "price-fixing [agreements] . . . are considered per

se unreasonable." Omnicare, 629 F.3d at 705–06.

       But even if plaintiffs do not have to allege market power for a price-fixing

agreement among competitors, they must allege a relevant market in general. An

agreement to fix prices cannot violate antitrust law if there is no market for the good or

service to which the price is attached. "It is the existence of a commercial market that

implicates [antitrust law] in the first instance." Agnew, 683 F.3d at 337.

       With the need for a relevant market established, the Court next considers the

plaintiffs' alleged market.

              b.      Alleged market

       "A 'relevant market' under [antitrust law] is comprised of the 'commodities

reasonably interchangeable by consumers for the same purposes.'" Sharif Pharmacy,

Inc. v. Prime Therapeutics, LLC, 950 F.3d 911, 916–17 (7th Cir. 2020) (quoting United

States v. E.I. du Pont de Nemours & Co., 351 U.S. 377, 395 (1956)). At the motion to

dismiss stage, the burden to allege a relevant market is low. "All that is required, on a

motion to dismiss, is for the plaintiffs to plead sufficient allegations that, when taken as

true, make plausible the existence of a relevant market." Carbone v. Brown Univ.,

621 F. Supp. 3d 878, 899 (N.D. Ill. 2022) (Kennelly, J.); see also Vasquez v. Ind. Univ.

Health, Inc., 40 F.4th 582, 584 (7th Cir 2022) (noting the plaintiff "needed to allege only

one plausible geographic market to survive a motion to dismiss").



                                             17
 Case: 1:24-cv-06795 Document #: 428 Filed: 06/03/25 Page 18 of 51 PageID #:3711




       The plaintiffs define the relevant market as "the market for out-of-network

healthcare services for purchase by third-party commercial payers." Class Action

Compl. ¶ 265; see also Direct Action Compl. ¶ 515 ("The relevant market . . . is the

market for out-of-network goods and services sold to payors."). The defendants argue

the plaintiffs do not allege a relevant market because: (1) they fail to allege a "price"

capable of being fixed and (2) the market as defined is implausible.

                     i.     Fixable "price"

       The defendants first argue that no market exists for out-of-network healthcare

services, as out-of-network services are not a standalone product that has a "price" that

can be fixed. Instead, the defendants contend that the product at issue is a patient's

insurance policy, which includes coverage for both in-network and out-of-network

services. Because patients cannot purchase coverage solely for out-of-network

services, the defendants argue, there is no way to fix prices for out-of-network services.

       The defendants' argument amounts to sleight of hand. Rather than address the

market the plaintiffs allege—the market for out-of-network services sold to third-party

payors—the defendants analyze the separate market for insurance policies sold to

patients. This is the wrong analysis. It may be true that out-of-network service

coverage is not a discrete product sold to patients because it is sold within insurance

policies that package both in- and out-of-network services together. But the market

alleged in this case is between third-party payors and providers, not third-party payors

and their subscribers / patients.

       Courts in this circuit and elsewhere have "noted the role of insurers as

purchasers of health services." Blue Cross & Blue Shield United of Wis. v. Marshfield



                                             18
 Case: 1:24-cv-06795 Document #: 428 Filed: 06/03/25 Page 19 of 51 PageID #:3712




Clinic, 881 F. Supp. 1309, 1317 (W.D. Wis. 1994) (collecting cases); see also Blue

Cross & Blue Shield United of Wis. v. Marshfield Clinic, 65 F.3d 1406, 1415 (7th Cir.

1995) (recognizing that third-party payor Blue Cross is a "buyer of medical services").

The "reality of the health services financing market" is that the "price set for treatment is

often negotiated not between patient and physician, but between patient's insurer and

physician." Marshfield Clinic, 881 F. Supp. at 1317 (quoting Nelson v. Monroe Reg'l

Med. Ctr., 925 F.2d 1555, 1564 n.5 (7th Cir. 1991)). And although the defendants try to

shift the analysis from third-party payors "paying" for healthcare services to payors

"reimbursing" patients, "any distinction between reimbursement by third party

insurers . . . and purchasing [is] irrelevant for antitrust purposes." Id. (citing Kartell v.

Blue Shield of Mass., Inc., 749 F.2d 922, 926 (1st Cir. 1984)). In sum, although it is the

patient who benefits from healthcare services provided, the third-party payor

participates in the market by buying the services.

       The defendants attempt to resist being labelled "purchasers" of healthcare

services by insisting that "there is no factual basis whatsoever for the notion that [out-of-

network] services are provided to [third-party payors] instead of the patients that receive

treatments." Reply in Supp. of Defs.' Mot. to Dismiss Direct Action Compl. at 14. The

defendants seemingly argue that a purchaser must use the product being purchased to

be in the market for that product. By that logic, parents who buy a chocolate bar for a

child would not be in the market for chocolate bars, as only the child consumes the

chocolate. This absurdity simply highlights the recognized "reality of the health services

financing market" that third-party payors are the purchasers for out-of-network

healthcare services, whether or not the payor is considered a recipient of those



                                              19
 Case: 1:24-cv-06795 Document #: 428 Filed: 06/03/25 Page 20 of 51 PageID #:3713




services. See Marshfield Clinic, 881 F. Supp. at 1317.

       Next, the defendants contend that even if third-party payors do purchase

healthcare services, there can be no competitive market for out-of-network healthcare

services rendered, as providers can only negotiate with the treated patient's third-party

payor. Yet the fact that competition does not happen at the point of sale does not mean

there is no market. As the plaintiffs allege, if providers realize that a third-party payor

pays too-low, noncompetitive rates for out-of-network services, providers will stop

accepting patients who utilize that payor. Class Action Compl. ¶ 242; Direct Action

Compl. ¶ 422. As a result, payors would lose subscribers to other third-party payors

that can provide greater access to out-of-network services. Class Action Compl. ¶ 242;

Direct Action Compl. ¶ 422. Third-party payors thus must keep their out-of-network rate

payments at a competitively high level to avoid losing subscribers who wish to utilize a

wide breadth of providers. Class Action Compl. ¶ 242; Direct Action Compl. ¶ 422. In

other words, third-party payors compete with other third-party payors for out-of-network

services to ensure they do not lose subscribers, even if providers cannot choose

between payors once a patient / subscriber receives treatment. This is a competitive

market.

       Finally, the defendants ask the Court to adopt the reasoning of three out-of-circuit

cases and one state court case, which all hold that there is no fixable "price" for out-of-

network healthcare services. Two of the cases—Franco v. Connecticut General Life

Insurance Co., 818 F. Supp. 2d 792 (D.N.J. 2011) and In re Aetna UCR Litigation, Civ.

No. 07-3541, 2015 WL 3970168 (D.N.J. June 30, 2015)—are inapposite. Both cases

involved lawsuits brought by patients against their third-party payors, not providers



                                             20
 Case: 1:24-cv-06795 Document #: 428 Filed: 06/03/25 Page 21 of 51 PageID #:3714




against payors. As discussed above, it may be correct to conclude that out-of-network

services cannot have their prices fixed when sold to patients, as it is only "one aspect"

of the total insurance policy a patient purchases. See Franco, 818 F. Supp. 2d at 834;

In re Aetna, 2015 WL 3970168, at *24. But the plaintiffs in this case are providers who

do allegedly sell out-of-network services as a separate product to third-party payors.

       Admittedly, the other two cases cited—Pacific Recovery Solutions v. Cigna

Behavioral Health, Inc., supra, and VHS Liquidating Trust v. Multiplan Corp., No. CGC-

21-594966, 2024 WL 5378341 (Cal. Super. Aug. 9, 2024)—were brought by providers.

But both relied heavily on Franco and In re Aetna to reach the conclusion that there was

no fixable price, despite the provider-plaintiffs alleging a market distinct from what the

patient-plaintiffs had alleged in past cases. See Cigna, 2021 WL 1176677, at *13; VHS

Liquidating Tr., 2024 WL 5378341, at *7–9. The Court respectfully disagrees with these

courts holdings and finds the plaintiffs have alleged a discrete product—out-of-network

healthcare services sold to third-party payors—that can have its price fixed.

                      ii.    Cognizable market

       The defendants also argue that the alleged market itself is implausible. First,

they contend the alleged market is too broad, as it groups different healthcare services

offered by different types of providers. Because an out-of-network routine check-up is

not reasonably interchangeable with out-of-network heart surgery, the defendants

argue, a market including all out-of-network services is implausible.

       But defendants concede that products, even if not separately interchangeable,

can be "clustered" together in a "cluster market" if the "'cluster' is itself an object of

consumer demand." FTC v. Advoc. Health Care Network, 841 F.3d 460, 467–68 (7th



                                              21
 Case: 1:24-cv-06795 Document #: 428 Filed: 06/03/25 Page 22 of 51 PageID #:3715




Cir. 2016) (quoting Green Country Food Mkt., Inc. v. Bottling Grp., 371 F.3d 1275,

1284–85 (10th Cir. 2004)). The Seventh Circuit has recognized that "[h]ealth care

services can be suitable subjects for such 'cluster' product markets." Sharif Pharmacy,

950 F.3d at 918; see, e.g., In re Delta Dental, 484 F. Supp. 3d at 640 (finding the

plaintiffs plausibly alleged a market for "dental goods and services sold by plaintiffs to

insurers"). Different types of healthcare services may be grouped in a cluster market

because healthcare services are often "sold to commercial health plans and their

members" in a package. Advoc. Health Care Network, 841 F.3d at 467–68.

       Although the defendants maintain that competition for purchasing out-of-network

services differs based on the type of service, the plaintiffs plausibly allege otherwise.

They allege that payment for out-of-network services is calculated in a similar manner—

through the use of some benchmark or algorithm—across all healthcare services

purchased, and that third-party payors purchase different types of out-of-network

healthcare services "together to sell health plans with out-of-network benefits." Class

Action Compl. ¶¶ 80–89, 266; Direct Action Compl. ¶¶ 295–300, 538. Taking these

factual allegations as true, the Court finds the plaintiffs have plausibly alleged a market

for all types of out-of-network services.

       The defendants next argue that the providers' alleged nationwide market for-out-

of-network healthcare services is geographically implausible. There is nothing facially

invalid about alleging a nationwide market—a market "can be as large as the globe" as

long as a plaintiff plausibly alleges facts to support such breadth. See Advoc. Health

Care Network, 841 F.3d at 468–69. The providers allege several facts that support a

nationwide market, including that patients often utilize out-of-network services because



                                             22
 Case: 1:24-cv-06795 Document #: 428 Filed: 06/03/25 Page 23 of 51 PageID #:3716




of frequent travel, patients from anywhere in the United States can and do obtain out-of-

network services across the nation, and third-party payors purchase out-of-network

services from healthcare providers nationwide. Class Action Compl. ¶¶ 75, 275–276;

Direct Action Compl. ¶¶ 87, 563; see also In re Delta Dental, 484 F. Supp. 3d at 641

(denying a motion to dismiss in a case involving an alleged nationwide market when the

plaintiffs "claim[ed] that defendants insure patients across the country").

       The defendants attempt to rebut these allegations by arguing that "[a] routine

primary care checkup in California is simply not 'reasonably interchangeable' with one in

Illinois." Mem. in Supp. of Defs' Mot. to Dismiss Class Action Compl. at 39. This

conclusory argument is unconvincing. Whether or not a healthcare provider renders a

service in California or Illinois, the third-party payor purchasing the service receives the

bill, and the plaintiffs' allegations suggest that the process of negotiating payment is the

same no matter the location. The Court finds the plaintiffs have plausibly alleged a

nationwide market for out-of-network services.

       Finally, the defendants argue that the alleged market is underinclusive, as it only

includes out-of-network healthcare services rather than both in-network and out-of-

network services. When determining whether two products should be included in the

same market, courts commonly look toward "practical indicia" as "[h]elpful evidence" of

the relevant market. See Pit Row, Inc. v. Costco Wholesale Corp., 101 F.4th 493, 505

(7th Cir. 2024). Relevant practical indicia includes: "(i) industry or public recognition of

the submarket as a separate economic entity, (ii) the product's peculiar characteristics

and uses, (iii) unique . . . facilities, (iv) distinct customers, (v) distinct prices,

(vi) sensitivity to price changes, and (vii) specialized vendors." Methodist Health Servs.



                                                23
 Case: 1:24-cv-06795 Document #: 428 Filed: 06/03/25 Page 24 of 51 PageID #:3717




Corp. v. OSF Healthcare Sys., No. 1:13 C 1054 SLD JEH, 2015 WL 1399229, at *6

(C.D. Ill. Mar. 25, 2015) (citing Brown Shoe, 370 U.S. at 325).

       The plaintiffs' allegations implicate at least three practical indicia that support

treating out-of-network services as a distinct market from in-network services. First,

both the third-party payor industry and the public recognize out-of-network services are

a distinct market, as indicated by third-party payors differentiating between them in their

health plans and statements made by industry leaders. Class Action Compl. ¶¶ 268–

269 (noting that MultiPlan "describes 'out-of-network cost containment' as an

'addressable market' that is separate from . . . the 'provider network' market"); Direct

Action Compl. ¶¶ 538–540. Second, out-of-network services have characteristics

different from in-network services based on how they are negotiated, with the price for

in-network services being negotiated before treatment and the price for out-of-network

services being negotiated after treatment. Class Action Compl. ¶ 270; Direct Action

Compl. ¶ 543. Third, out-of-network services have distinct prices from in-network

services; they are "far more expensive than comparable in-network services." Class

Action Compl. ¶ 272; Direct Action Compl. ¶ 537.

       The defendants counter that these practical indicia distract from the key inquiry of

whether products are reasonably interchangeable. According to the defendants, these

indicia cannot overcome the fact that in-network and out-of-network services cover

identical treatments. Although the defendants recognize the prices differ substantially

between in-network and out-of-network services, they rely on Little Rock Cardiology

Clinic PA v. Baptist Health, 591 F.3d 591 (8th Cir. 2009), to argue that markets cannot

be defined by differing prices when the service rendered is the same.



                                              24
 Case: 1:24-cv-06795 Document #: 428 Filed: 06/03/25 Page 25 of 51 PageID #:3718




       In Little Rock Cardiology Clinic, a provider alleged the relevant market was "the

market for cardiology procedures obtained in hospitals by patients covered by private

insurance." Id. at 596. The Eighth Circuit concluded the alleged market was invalid

because it did not include government insurance. Id. at 597. The court determined that

payment through private insurance and government insurance was "reasonably

interchangeable from the cardiologist's perspective," as the cardiologist-provider alleged

it "accepted payment from sources other than private insurers." Id. The Eighth Circuit

then drew on this reasoning to hold that "as a matter of law, in an antitrust claim brought

by a seller, a product market cannot be limited to a single method of payment when

there are other methods of payment that are acceptable to the seller." Id. at 598.

       The defendants overread Little Rock Cardiology Clinic. The Eighth Circuit only

considered different sources of payment, not differing payment amounts. Implicit in the

court's reasoning is that there was no difference in payment between government

insurance as opposed to private insurance, making them "reasonably interchangeable

from the [provider]'s perspective." Id. at 597. In this case, the plaintiffs allege out-of-

network services are not reasonably interchangeable with in-network services due to

their substantially different rates. Other courts have distinguished Little Rock

Cardiology Clinic on this basis as well, including a court in this circuit. See, e.g.,

Methodist Health Servs. Corp. v. OSF Healthcare Sys., No. 1:13 C 1054 SLD JEH,

2016 WL 5817176, at *9 (C.D. Ill. Sept. 30, 2016) (finding Little Rock Cardiology Clinic

"easily distinguishable" as it "nowhere mentions allegations that government payers

reimburse at substantially different rates than commercial payers" and "the Eighth

Circuit explicitly treated the two sources of revenue as fungible"); In re Blue Cross Blue



                                              25
 Case: 1:24-cv-06795 Document #: 428 Filed: 06/03/25 Page 26 of 51 PageID #:3719




Shield Antitrust Litig., No. 2:13 C 20000 RDP, 2017 WL 2797267, at *9 & n.4 (N.D. Ala.

June 28, 2017) (collecting cases). The Court thus finds the plaintiffs have plausibly

alleged a distinct market for out-of-network services.

       To be clear, the Court is not finding that the defendants' critiques of the relevant

market are baseless. The defendants raise fair concerns regarding the scope and type

of services covered by the plaintiffs' alleged nationwide market for out-of-network

healthcare services. But the bulk of these criticisms amount to factually disputing the

plaintiffs' allegations, which are disputes the Court may not resolve at this stage of

review. See also In re Delta Dental, 484 F. Supp. 3d at 640 (quoting Todd v. Exxon

Corp., 275 F.3d 191, 199–200 (2d. Cir. 2001) (Sotomayor, J.)) ("Because market

definition is a deeply fact-intensive inquiry, courts hesitate to grant motions to dismiss

for failure to plead a relevant product market."). For all of these reasons, the Court finds

the plaintiffs have plausibly alleged a relevant market.

       3.     Antitrust violations

       The plaintiffs assert all of their federal antitrust claims under section 1 of the

Sherman Act. See 15 U.S.C. § 1. As discussed earlier, a section 1 claim requires the

plaintiffs to plausibly allege "(1) that defendants had a contract, combination, or

conspiracy ('an agreement'); (2) that as a result, trade in the relevant market was

unreasonably restrained; and (3) that they were injured." See Omnicare, 629 F.3d at

705. Collectively, the plaintiffs plead five theories for how the defendants agreed to

unreasonably restrain trade in violation of federal antitrust law. Because these theories

were all raised in the alternative, the Court only addresses the first two: (1) a horizontal

agreement between MultiPlan and third-party payors and (2) a hub-and-spokes



                                              26
 Case: 1:24-cv-06795 Document #: 428 Filed: 06/03/25 Page 27 of 51 PageID #:3720




agreement involving third-party payors facilitated by separate agreements with

MultiPlan.

             a.     Horizontal agreement

      The direct action plaintiffs allege that the third-party payors' contracts with

MultiPlan amount to horizontal price-fixing agreements. To reiterate, price-fixing

agreements among competitors are per se unlawful—they are "conclusively presumed"

an unreasonable restraint of trade. Always Towing & Recovery, Inc. v. City of

Milwaukee, 2 F.4th 695, 704 (7th Cir. 2021) (citation omitted). This conclusive

presumption, however, only applies to "agreement[s] between competitors"—i.e.,

"horizontal" agreements. Id. at 705 (quoting Bus. Elecs. Corp. v. Sharp Elecs. Corp.,

485 U.S. 717, 730 (1988)). "[A]greements between firms at different levels of

distribution," on the other hand, are "vertical" agreements. Id. at 705 (quoting Bus.

Elecs. Corp., 485 U.S. at 730). Vertical price agreements are not per se illegal. Leegin

Creative Leather Prods., Inc. v. PSKS, Inc., 551 U.S. 877, 881 (2007).

      The direct action plaintiffs contend that the agreements between MultiPlan and

third-party payors to determine out-of-network service payment rates and negotiate

those rates should be treated as horizontal agreements. In doing so, these plaintiffs

argue that MultiPlan is also a third-party payor that competed with the other payors in

the past for out-of-network services. They support this claim with factual allegations

that MultiPlan competes and has admitted to competing with third-party payors

regarding MultiPlan's "preferred provider organization" (PPO) network.

      The issue with these arguments is that they are only substantiated by factual

allegations regarding MultiPlan's in-network service payments, whereas the alleged



                                            27
 Case: 1:24-cv-06795 Document #: 428 Filed: 06/03/25 Page 28 of 51 PageID #:3721




horizontal price-fixing agreement in this case concerns out-of-network service

payments. The allegations suggest that MultiPlan has its own curated network of

providers that it sells to other third-party payors so they can expand their own networks.

Direct Action Compl. ¶¶ 104–111. There are no allegations, however, that MultiPlan

purchases out-of-network services through its PPO network. Yet the agreements

between MultiPlan and third-party payors at issue in this case solely involve MultiPlan's

rate calculation and negotiation services pertaining to out-of-network service payments.

       It is not enough for the direct action plaintiffs to allege that MultiPlan and third-

party payors compete in some market. The plaintiffs must provide factual allegations

supporting an agreement between competitors in the relevant market. See Texaco Inc.

v. Dagher, 547 U.S. 1, 3–5 (2006) (finding that two competitors in the "national and

international oil and gasoline markets" did not enter a horizontal price-fixing agreement

when they participated in a joint venture to sell gasoline in the western United States, as

they "did not compete with one another in the relevant market"). By only alleging facts

relating to MultiPlan's PPO network services to show competition with other third-party

payors, the plaintiffs have not plausibly alleged MultiPlan competes with third-party

payors in the market for out-of-network healthcare services. See also Long Island

Anesthesiologists PLLC v. United Healthcare Ins. Co. of N.Y., No. 22 C 4040 (HG),

2023 WL 8096909, at *6 (E.D.N.Y. Nov. 21, 2023) (finding that the plaintiffs' complaint

"support[ed] a conclusion that" MultiPlan and third-party payor United were "not

horizontal competitors").

       Nor can the direct action plaintiffs remedy this insufficiency by arguing, in a

footnote, that MultiPlan and third-party payors are "potential competitors." See Direct



                                              28
 Case: 1:24-cv-06795 Document #: 428 Filed: 06/03/25 Page 29 of 51 PageID #:3722




Action Pls.' Opp'n to Mot. to Dismiss at 10 n.3. There are no factual allegations that

suggest MultiPlan was planning, is planning, or even will be planning to compete in the

market for out-of-network services. This argument is thus equally implausible, if not

waived. See Harmon v. Gordon, 712 F.3d 1044, 1054 (7th Cir. 2013) ("[A] party can

waive an argument by presenting it only in an undeveloped footnote.").

              b.     Hub-and-spokes agreement

       Both sets of plaintiffs allege that MultiPlan facilitated an agreement among third-

party payors through the shared use of MultiPlan's rate calculation and negotiation

services. As discussed above, MultiPlan does not compete directly with third-party

payors for out-of-network services. Still, courts have recognized that a noncompetitor

can facilitate an agreement among competitors, creating a horizontal agreement

between those competitors.

       "Where the plaintiffs allege that participants in a market at different levels of the

distribution chain entered into a conspiracy, the plaintiffs must show that similarly

situated members of the conspiracy coordinated not only with [the entity at the different

distribution level], but also with each other." Marion Diagnostic Ctr., 29 F.4th at 345.

One way of doing so is to allege a "hub-and-spokes conspiracy," in which the

competitors use "a central coordinating party (the 'hub')" to facilitate an agreement

among the competitors (the "spokes"). Id.

       To plead an agreement, the plaintiffs must allege "enough factual matter (taken

as true) to suggest an agreement was made." Twombly, 550 U.S. at 556. Two types of

evidence can be used to indicate an agreement: direct and circumstantial. Direct

evidence is the "smoking gun in a price-fixing case," in which an alleged conspirator



                                             29
  Case: 1:24-cv-06795 Document #: 428 Filed: 06/03/25 Page 30 of 51 PageID #:3723




essentially admits to the agreement. In re Text Messaging Antitrust Litig., 630 F.3d 622,

628 (7th Cir. 2010); In re High Fructose Corn Syrup Antitrust Litig., 295 F.3d 651, 662

(7th Cir. 2002) (describing direct evidence as "tantamount to an acknowledgement of

guilt").

           The plaintiffs contend they have alleged direct evidence of an agreement through

contracts between MultiPlan and the third-party payors. But these contracts are only

evidence of vertical agreements. As such, they are not "smoking gun" evidence of a

horizontal agreement among the third-party payors themselves.

           Still, circumstantial evidence may also be used to plausibly allege an agreement.

In re Text Messaging, 630 F.3d at 629. For circumstantial evidence to indicate an

agreement, the plaintiffs must allege (1) "parallel conduct" by the defendants and

(2) "context that raises a suggestion of a preceding agreement"—often called "plus

factors." Twombly, 550 U.S. at 557; In re Dealer Mgmt. Sys. Antitrust Litig., 581 F.

Supp. 3d 1029, 1058–59 (N.D. Ill. 2022) (collecting cases).

                        i.     Parallel conduct

           The plaintiffs allege that the defendants all switched from using traditional UCR

benchmarks when calculating out-of-network service rates to MultiPlan's rate calculation

and negotiation services. Class Action Compl. ¶¶ 246–249; Direct Action Compl.

¶¶ 288–209. This is enough to plausibly allege parallel conduct. See In re RealPage

Inc., Rental Software Antitrust Litig. (No. II), 709 F. Supp. 3d 478, 506–08 (M.D. Tenn.

2023) (finding the plaintiffs plausibly alleged parallel conduct when the defendant-

property owners and managers switched from the traditional method of prioritizing

occupancy when determining rental rates to using a third-party algorithm).



                                               30
 Case: 1:24-cv-06795 Document #: 428 Filed: 06/03/25 Page 31 of 51 PageID #:3724




       The defendants' arguments otherwise are unavailing. First, the defendants

contend the third-party payors' use of MultiPlan's services cannot be considered parallel

conduct because the plaintiffs do not allege third-party payors started using MultiPlan at

the same time. But concurrent adoption of a price-fixing scheme is not required to

prove parallel conduct. "It is elementary that an unlawful conspiracy may be and often

is formed without simultaneous action or agreement on the part of the conspirators."

Interstate Cir., Inc. v. United States, 306 U.S. 208, 228 (1939). Of course, changing

price structures "all at once" can be a strong indicator that parallel conduct is in fact an

agreement to fix prices. See In re Text Messaging, 630 F.3d at 628. But "all at once

behavior" is not "necessary to allege parallel conduct in the first place." In re Broiler

Chicken Antitrust Litig., 290 F. Supp. 3d 772, 791 (N.D. Ill. 2017) (cleaned up). The

plaintiffs thus did not have to allege the third-party payors all contracted with MultiPlan

at the same time for their use of MultiPlan's services to be considered parallel conduct.

       Next, the defendants argue that the fact that MultiPlan's Data iSight algorithm is

customizable means the plaintiffs have not plausibly alleged parallel conduct through its

use, as the third-party payors may use the Data iSight algorithm in any number of ways.

The plaintiffs, however, dispute how much third-party payors customize MultiPlan's

algorithm in practice. Even one of MultiPlan's own white papers detailing how Data

iSight is used, which was referenced in the direct action complaint and attached by the

defendants to their motion to dismiss, 1 indicates that third-party payors utilize certain


1 "[W]here . . . significant documents are referenced in the complaint and attached by

the defendant to its motion to dismiss, those documents are considered to be
incorporated into the pleadings and a court may consider them." Black Bear Sports
Grp. v. Amateur Hockey Ass'n of Ill., Inc., No. 18 C 8364, 2019 WL 2060934, at *3 (N.D.
Ill. May 9, 2019) (Kennelly, J.) (collecting cases).


                                             31
 Case: 1:24-cv-06795 Document #: 428 Filed: 06/03/25 Page 32 of 51 PageID #:3725




"customizable" overrides in similar ways. See Direct Action Compl. ¶ 260; Huseny Decl.

Regarding Mot. to Dismiss Direct Action Compl., Ex. C at 2, 4. For example, the white

paper notes that third-party payors "[t]ypically . . . apply an override to never pay more

than 250% of Medicare" for inpatient claims and that "the typical . . . elected override is

to never pay more than 400% of Medicare" for outpatient claims. Huseny Decl.

Regarding Mot. to Dismiss Direct Action Compl., Ex. C at 2, 4. Further, the direct action

plaintiffs provide a chart indicating some parallel pricing for out-of-network services as a

result of MultiPlan's algorithm. Direct Action Compl. ¶¶ 292–293.

       But more to the point, the defendants do not have to use MultiPlan in identical

ways for their use to be considered parallel conduct. Price-fixing agreements need "not

be aimed at complete elimination of price competition" for them to violate antitrust law.

Socony-Vacuum, 310 U.S. at 224 n.59; see also United States v. Beaver, 515 F.3d 730,

739 (7th Cir. 2008) ("[T]he Sherman Antitrust Act does not outlaw only perfect

conspiracies to restrain trade."). If competitors agree to abide by a third-party algorithm

that guarantees a below market price, it would not matter if every price the algorithm

recommended differed for each competitor based on each of the competitor's preferred

settings. An agreement to fix prices within a below-market range through use of an

algorithm is no different for antitrust purposes than an agreement to fix prices to a single

point. See Socony-Vacuum, 310 U.S. at 224 n.59 ("[P]rice-fixing includes more than the

mere establishment of uniform prices . . . ."). Therefore, the plaintiffs did not have to

allege third-party payors used MultiPlan's algorithm in exactly the same way for their

use to be parallel conduct.

       Lastly, the defendants emphasize that use of MultiPlan's calculated rate is



                                             32
 Case: 1:24-cv-06795 Document #: 428 Filed: 06/03/25 Page 33 of 51 PageID #:3726




discretionary. Because third-party payors can deviate from MultiPlan-calculated rates,

the defendants argue, use of MultiPlan's algorithm cannot be considered parallel

conduct.

       Yet third-party payors' theoretical ability to deviate from a MultiPlan-calculated

rate does not mean payors actually reject MultiPlan's recommendations in practice. The

plaintiffs allege that MultiPlan rates are often directly sent to providers, indicating third-

party payors often adopt MultiPlan-calculated rates with little to no changes. Class

Action Compl. ¶ 215; Direct Action Compl. ¶ 154. Moreover, an exemplar contract

between MultiPlan and third-party payor Aetna, attached and incorporated into the class

action complaint, reflects that a third-party payor has a contractual obligation "not to

reduce" any MultiPlan-calculated rate that MultiPlan negotiates on behalf of the third-

party payor. Class Action Compl. ¶ 214; id. Ex. A at 3. Whether or not MultiPlan's

calculated rates are labelled as "recommendations," the plaintiffs plausibly allege that

they are more akin to mandates. Cf. Norfolk Monument Co. v. Woodlawn Memorial

Gardens, Inc., 394 U.S. 700, 703 (1969) (per curiam) (noting that a "self-serving

disclaimer" that a defendant only "suggested standards of fair and reasonable

regulations which [its clients] would be advised to adopt" did not "conclusively rebut" the

claimed price-fixing agreement).

       The Court concludes that the plaintiffs have plausibly alleged parallel conduct

among the third-party-payor defendants through use of MultiPlan's rate calculation and

negotiation services.

                      ii.    Plus factors

       As discussed above, allegations of parallel conduct alone are insufficient to plead



                                              33
 Case: 1:24-cv-06795 Document #: 428 Filed: 06/03/25 Page 34 of 51 PageID #:3727




an antitrust violation. This is because "section 1 of the Sherman Act . . . does not

require [competitors] to compete; it just forbids their agreeing or conspiring not to

compete." In re Text Messaging, 630 F.3d at 627. "[A] complaint that merely alleges

parallel behavior alleges facts that are equally consistent with an inference that the

defendants are conspiring and an inference that the conditions of their market have

enabled them to avoid competing without having to agree not to compete." Id. "Absent

additional 'factual enhancement' or a 'circumstance pointing toward a meeting of the

minds,' an allegation of parallel conduct 'stops short of the line between possibility and

plausibility.'" In re Broiler Chicken, 290 F. Supp. 3d at 790 (quoting Twombly, 550 U.S.

at 557). When considering factual allegations that indicate an agreement, a court views

the circumstances as a whole to determine if a plaintiff has plausibly alleged an

agreement. See Cont'l Ore Co. v. Union Carbide & Carbon Corp., 370 U.S. 690, 698–

99 (1962) (cleaned up) ("The character and effect of a conspiracy are not to be judged

by dismembering it and viewing its separate parts, but only by looking at it as a whole.").

       The plaintiffs first contend that the third-party payors' use of MultiPlan's services

are acts against their self-interest. Actions that would not be in the self-interest of

competitors absent an agreement indicate an agreement, as it is irrational for a

competitor to work against its own interests without assurances that others will do the

same. See In re Deere & Co. Repair Serv. Antitrust Litig., 703 F. Supp. 3d 862, 908

(N.D. Ill. 2023); see also Twombly, 550 U.S. at 557 n.4 (noting that "parallel behavior

that would probably not result from . . . mere interdependence unaided by an advance

understanding among the parties" indicates an agreement). The plaintiffs cite three acts

that were allegedly against the third-party payors' self-interest: (1) paying below-market



                                             34
 Case: 1:24-cv-06795 Document #: 428 Filed: 06/03/25 Page 35 of 51 PageID #:3728




compensation rates to providers, (2) sharing competitively sensitive information with

competitors through MultiPlan, and (3) paying for MultiPlan's services despite cheaper

pricing tools existing. Class Action Compl. ¶¶ 241–245; Direct Action Compl. ¶¶ 421–

438.

       The Court begins with the third argument—paying for MultiPlan's services is

against self-interest due to the existence of cheaper options—as it is both the least

argued and least convincing. The plaintiffs do not allege facts that indicate it would be

more advantageous for third-party payors to calculate rates themselves or use other

methods rather than outsource that aspect of their business to a specialist like

MultiPlan. It is true that third-party payors could utilize pre-existing UCR benchmarks

like FAIR Health. But there are no allegations that FAIR Health offers the same quality

of rate calculation service as MultiPlan. Nor do the plaintiffs allege that FAIR Health has

a negotiation service similar to MultiPlan. And although it is peculiar that United was

allegedly developing an in-house calculation method before deciding to scrap it in favor

of MultiPlan's services, there is no indication that United's prototype was as effective as

MultiPlan or that other third-party payors have the resources to develop an in-house

rate calculator as sophisticated as MultiPlan's Data iSight algorithm. The possibility that

third-party payors could use a different rate calculation service, therefore, does not

make third-party payors' use of MultiPlan's services against their self-interest.

       The plaintiffs' other two arguments have greater merit. First, the plaintiffs

plausibly allege that using MultiPlan without an agreement among third-party payors

would not be in their self-interest due to the risk of subscriber loss. As discussed

above, third-party payors risk losing subscribers when paying healthcare providers rates



                                            35
 Case: 1:24-cv-06795 Document #: 428 Filed: 06/03/25 Page 36 of 51 PageID #:3729




that are below the rates their competitors pay, as providers will stop providing their

services to patients who use third-party payors known for underpayments. Class Action

Compl. ¶ 242; Direct Action Compl. ¶ 422. The plaintiffs' allegations indicate that

MultiPlan's calculated rates are well below the UCR benchmark rates third-party payors

used in the past. See Class Action Compl. ¶¶ 20–21; Direct Action Compl. ¶¶ 8, 13,

211, 336. Taking these factual allegations as true, the risk of losing subscribers would

have made any individual third-party payor's utilization of MultiPlan's rate calculation

services against its self-interest absent an agreement that others would do the same.

       The defendants protest that the plaintiffs have provided little evidence of

subscriber loss occurring despite third-party payors like Cigna using MultiPlan before

others decided to do so. Yet at this stage of review, the plaintiffs need not provide

evidence that subscriber loss actually occurred. It is plausible that third-party payors

would be concerned about subscriber loss absent an agreement that all of them use

MultiPlan. The fear of losing subscribers due to a loss in provider-coverage is so

prevalent in the healthcare industry that the industry has coined a term for it—

"abrasion." Class Action Compl. ¶ 78.

       Further, it is not as though early MultiPlan adopters like Cigna were left out in the

cold for too long. Although Cigna joined in early 2015, other third-party payors—

including large commercial payors such as Blue Cross Blue Shield Association

members and United—allegedly had contracts with MultiPlan by around 2016, and

hundreds more joined them by 2018. Class Action Compl. ¶ 112–118; see also Direct

Action Compl. ¶ 289. Perhaps in a different market this gap in adoption would be

conclusive. But in the market for out-of-network services, a provider would have to first



                                            36
 Case: 1:24-cv-06795 Document #: 428 Filed: 06/03/25 Page 37 of 51 PageID #:3730




receive unduly low payment rates for out-of-network services before deciding to stop

accepting patients who utilize those commercial third-party payors. See Direct Action

Compl. ¶ 591 (detailing a provider's alleged decision to stop accepting a third-party

payor's low rates only after already treating two patients using that third-party payor).

The subscriber loss that third-party payors face by paying noncompetitive rates, then, is

somewhat delayed; healthcare providers have to realize a particular third-party payor

consistently underpays for services before they start rejecting the payor's patients, and

these patients will not feel an incentive to switch to alternative third-party payors until

the lack of coverage becomes apparent. It is thus plausible that by the time Cigna was

set to face significant abrasion, many third-party payors in the industry had already

switched over to MultiPlan, making rejecting patients with third-party payors who use

MultiPlan no longer an option. The Court concludes that the plaintiffs have plausibly

alleged that the risk of subscriber loss due to MultiPlan's allegedly noncompetitive

calculations indicates use of MultiPlan would be against the self-interest of each

individual third-party payor absent an agreement.

       Second, the plaintiffs allege that third-party payors act against their self-interest

by transferring competitively sensitive pricing information to MultiPlan, which relays this

information to other competitors, despite the fact that this price information can be used

to undercut the payors' own prices. "It is well-settled that the exchange of price

information among competitors is indicative of anticompetitive agreement." In re Broiler

Chicken Antitrust Litig., No. 16 8637, 2025 WL 461407, at *4 (N.D. Ill. Feb. 11, 2025);

United States v. U.S. Gypsum Co., 438 U.S. 422, 457 (1978) ("[T]he exchange of price

information among competitors carries with it the added potential for the development of



                                              37
 Case: 1:24-cv-06795 Document #: 428 Filed: 06/03/25 Page 38 of 51 PageID #:3731




concerted price-fixing arrangements which lie at the core of the Sherman Act's

prohibitions."). The plaintiffs allege that MultiPlan facilitates the exchange of

competitively sensitive pricing information in two ways: (1) through the Data iSight

algorithm itself by "pooling" third-party payors' data and (2) through MultiPlan's

discussions with other third-party payors.

       The Court is not persuaded at this point that the plaintiffs have plausibly alleged

that MultiPlan's Data iSight algorithm compiles competitively sensitive data for use in its

rate calculations. To support this contention, the plaintiffs rely on white papers

produced by MultiPlan that detail how Data iSight calculates rates. Class Action Compl.

¶ 165; Direct Action Compl. ¶ 322–326. Yet these white papers, which defendants

attached to their motions to dismiss, state that the Data iSight algorithm utilizes only

"publicly-available" data. Huseny Decl. Regarding Mot. to Dismiss Class Action Compl.,

Ex. C at 5; Huseny Decl. Regarding Mot. to Dismiss Direct Action Compl., Ex. C at 2.

The lack of an indication that Data iSight compiles competitively sensitive pricing data is

critical. It is natural—if not expected—that to compete better, competitors will monitor

the publicly-available pricing practices of others. See U.S. Gypsum Co., 438 U.S. at

441 n.16 (noting "[t]he exchange of price data . . . among competitors does not

invariably have anticompetitive effects" as it can "increase economic efficiency and

render markets more . . . competitive."); see also In re Text Messaging Antitrust Litig.,

782 F.3d 867, 875 (7th Cir. 2015) ("Competitors in concentrated markets watch each

other like hawks.").

       It is possible, of course, that these cited white papers are not completely

transparent regarding what information MultiPlan's algorithm compiles. But factual



                                             38
 Case: 1:24-cv-06795 Document #: 428 Filed: 06/03/25 Page 39 of 51 PageID #:3732




allegations must be plausible, not just possible. At this point, the plaintiffs have not

alleged sufficient facts to "nudge[] their claim[]" that MultiPlan's Data iSight algorithm

compiles competitively sensitive data "across the line from conceivable to plausible."

Twombly, 550 U.S. at 547.

       But the crux of the plaintiffs' information-sharing allegations goes beyond

MultiPlan's algorithm. As the class action plaintiffs put it, MultiPlan is alleged not just to

have "hid[den] behind its algorithm," but also to have "played an active role as a go-

between" for third-party-payors. Class Action Pls.' Opp'n to Mot. to Dismiss at 29.

       A prominent example, highlighted in both complaints, was communication

between MultiPlan and UnitedHealth, in which MultiPlan divulged enough pricing

information to United that it could glean how its competitors were calculating their out-

of-network rates. Class Action Compl. ¶¶ 200–208; Direct Action Compl. ¶¶ 254–257;

cf. In re Text Messaging, 630 F.3d at 628 (noting that meetings where "price

information" was "exchanged" "facilitates price fixing"). The plaintiffs further allege that

MultiPlan promotes the amount of information it gets from third-party payors by claiming

that it can "align" payor rates for out-of-network services. In support of this, the plaintiffs

cite an email from a MultiPlan executive to United in which MultiPlan promoted its ability

to "bring United[] back into alignment with its primary competitor group . . . on managing

out-of-network costs." Class Action Compl. ¶¶ 190–193; Direct Action Compl. ¶¶ 219.

And as discussed above, the white papers that MultiPlan produces—which are allegedly

distributed to competitors—detail what overrides competitors "typically" apply, further

communicating competitively sensitive pricing information to each third-party payor.

Class Action Compl. ¶ 263; Direct Action Compl. ¶ 260; Huseny Decl. Regarding Mot. to



                                              39
 Case: 1:24-cv-06795 Document #: 428 Filed: 06/03/25 Page 40 of 51 PageID #:3733




Dismiss Direct Action Compl., Ex. C at 2, 4. These allegations indicate that third-party

payors know and effectuate MultiPlan's communication of competitively sensitive pricing

information from one third-party payor to another despite a third-party payor's self-

interest in keeping potentially detrimental price information private

       Finally, the plaintiffs allege several other market-related circumstances that

facilitate an agreement among third-party payors, including: (a) high barriers of entry,

(b) high exit barriers, (c) high market concentration, and (d) past collusive conduct, as

illustrated by the Ingenix settlements. Class Action Compl. ¶¶ 250–263; Direct Action

Compl. ¶¶ 381–480. The defendants are correct that general allegations concerning the

structure of a market are insufficient alone to plausibly allege a price-fixing agreement.

See Gamm v. Sanderson Farms, Inc., 944 F.3d 455, 466 (2d Cir. 2019) (noting

allegations that "the general structure of the poultry market made it 'susceptible to price-

fixing'" were insufficient by themselves to support an agreement). But market

circumstances that make an agreement possible are relevant when considering whether

the plaintiffs otherwise plausibly allege an agreement. See In re Text Messaging,

630 F.3d at 627–28 ("[I]ndustry structure that facilitates collusion constitutes supporting

evidence of collusion."); see, e.g., In re Turkey Antitrust Litig., 642 F. Supp. 3d 711, 727

(N.D. Ill 2022) (noting high market concentration and high barriers of entry "support[]

claims of a conspiracy to fix prices"); In re Broiler Chicken, 290 F. Supp. 3d at 803

(noting "opportunities to collude" support the "existence of a conspiratorial agreement").

       When considering the plaintiffs' allegations as a whole, a plausible allegation of

an agreement to fix prices comes into view. Third-party payors, many exiting

settlement-mandated contracts with FAIR Health's UCR benchmark, each switched to



                                            40
 Case: 1:24-cv-06795 Document #: 428 Filed: 06/03/25 Page 41 of 51 PageID #:3734




contracting with MultiPlan for its rate calculation and negotiation services. In doing so,

they agreed not only to give MultiPlan competitively sensitive pricing information but

also to abide by MultiPlan's rate calculations in order to utilize its negotiation service.

MultiPlan thus gained reams of private pricing information about each third-party payor

with which it has a contract, including the competitively sensitive information of how a

specific third-party payor calculates offered rates for out-of-network services. MultiPlan

then communicated this information to other third-party payors through meetings and by

circulating white papers that indicated the "typical" calculation settings third-party payors

used. Using this information, third-party payors utilizing MultiPlan calculated their rates

in a similar way, knowing others agreed to do the same, "aligning" their prices with one

another while collectively avoiding risk of subscriber loss.

       On this point, the Court finds illustrative the Supreme Court's decision in United

States v. Masonite Corp., 316 U.S. 265 (1942). In Masonite, the hardboard

manufacturer Masonite executed several identical "agency" agreements with hardboard

distributors from 1933 to 1941, in which Masonite would decide "minimum prices" for

hardboard sales. Id. at 268–73, 282–83. Although each agreement was negotiated

separately between Masonite and a distributor, each distributor was aware of who else

had signed an agency agreement. Id. at 270. The Supreme Court found that the

distributors had entered into a horizontal agreement to fix prices facilitated by their

separate vertical agreements with Masonite. Id. at 274–75. The Court recognized that

each distributor "negotiated only with Masonite," "did not require as a condition of its

acceptance that Masonite make such an agreement with any others, and had no

discussion with any of the others." Id. Nor was it important that the Court could not



                                              41
 Case: 1:24-cv-06795 Document #: 428 Filed: 06/03/25 Page 42 of 51 PageID #:3735




pinpoint "at what precise point of time each [distributor] became aware of the fact that its

contract was not an isolated transaction but part of a larger arrangement." Id. at 275.

What mattered was that "as the arrangement continued," each distributor "became

familiar with its purpose and scope." Id. The distributors had agreed to fix prices

through their "express delegation" to Masonite, which was "just as illegal as the fixing of

prices by direct, joint action." Id. at 276.

       The plaintiffs plausibly allege a horizontal hub-and-spokes agreement similar to

the one in Masonite. 2 Although the defendants scoff at the idea that there can be a

plausible allegation of an agreement among MultiPlan's 700+ third-party-payor clients,

MultiPlan has allegedly made each of the third-party payors aware of a broader

horizontal agreement through its statements that it can "align" a third-party payor's rates

with other MultiPlan clients by using disclosed competitively sensitive information. Each

third-party payor that contracts with MultiPlan thus knows that MultiPlan is capable of

aligning rates without the risk of subscriber loss because other third-party payors have


2 The Court is aware of the First Circuit's conclusion that Masonite only concerned "the

individual vertical contracts between Masonite and each competitor" and made "no
holding on horizontal conspiracy." In re Nexium (Esomeprazole) Antitrust Litig.,
842 F.3d 34, 57 (1st Cir. 2016). According to the First Circuit, Masonite cannot be read
as finding "an overarching horizontal conspiracy," as it was missing the "essential
conspiracy element" of "a motive for joint action or interdependence." Id. (citation
omitted). The Court respectfully disagrees with this interpretation. In concluding that
the defendants violated section 1 of the Sherman Act, the Supreme Court emphasized
that the distributors became aware that they were not just engaged in "isolated
transaction[s]," but were "a part of a larger arrangement." Masonite Corp., 316 U.S. at
275. The Supreme Court would have no reason to highlight this larger arrangement if it
was not identifying a horizontal agreement. See also Sun Oil Co. v. FTC, 350 F.2d 624,
633–34 (7th Cir. 1965) (interpreting the Supreme Court as "striking down [a] horizontal
conspiracy" in Masonite). To the extent that Nexium is correct that Masonite's analysis
is faulty due to the lack of a motive for joint action, the Court reiterates that there is a
motive for third-party payors to jointly act in this case—to avoid risk of subscriber loss
caused by lowering their out-of-network payment rates to noncompetitive levels.


                                               42
 Case: 1:24-cv-06795 Document #: 428 Filed: 06/03/25 Page 43 of 51 PageID #:3736




agreed to disclose pricing information and delegate rate calculations to MultiPlan's

algorithm as well. The plaintiffs have thus plausibly alleged that third-party payors who

utilize MultiPlan's rate calculation and negotiation services are familiar with the scope of

the alleged price-fixing scheme and have therefore collectively agreed to fix prices for

out-of-network service payments.

       The defendants offer an alternative explanation. They contend that using

MultiPlan is in their self-interest, as doing so leads to lower costs on their end. Using

MultiPlan to reduce prices, according to the defendants, was thus an independently

rational decision that undermines allegations of conspiracy.

       Although an "obvious alternative explanation" can indicate that an alleged

agreement is not plausible, Twombly, 550 U.S. at 567, it cannot override a plausibly

alleged agreement. See in re Broiler Chicken, 290 F. Supp. 3d at 788 (noting "it is

improper at [the motion to dismiss stage] to weigh alternatives and which is more

plausible"). As discussed above, the Court has found that the plaintiffs have plausibly

alleged that using MultiPlan was not obvious due to the risk of subscriber loss and the

need to disclose competitively sensitive pricing information to a third-party that discloses

that information with other competitors. The defendants' alternative explanation does

not, at this stage of the case, undermine the Court's conclusion that the plaintiffs have

alleged a plausible horizontal agreement to fix prices for out-of-network service

payments through the use of MultiPlan's rate calculation and negotiation services.

                                      *      *      *

       As discussed above, horizontal price-fixing agreements are per se illegal. In

finding that the plaintiffs have plausibly alleged a horizontal hub-and-spokes price-fixing



                                             43
 Case: 1:24-cv-06795 Document #: 428 Filed: 06/03/25 Page 44 of 51 PageID #:3737




agreement, the Court has thereby found that the plaintiffs' have plausibly alleged an

agreement to fix prices for out-of-network healthcare services in violation of federal

antitrust law. The Court therefore denies the defendants' motion to dismiss the

plaintiffs' federal antitrust claims.

B.     State antitrust claims

       The direct action plaintiffs also claim the defendants' actions violate the antitrust

laws of several states. The defendants' only response is that these state violations are

based on the plaintiffs' federal antitrust claims and therefore "fail for the same reasons

their federal claims fail." Mem. in Supp. of Defs' Mot. to Direct Action Compl. at 36.

Because the Court has found a plausibly alleged federal antitrust violation, the Court

also finds the direct action plaintiffs have plausibly alleged state antitrust violations. The

Court therefore denies the defendants' motion to dismiss the direct action plaintiffs' state

antitrust claims.

C.     Consumer protection claims

       Next, the direct action plaintiffs allege the defendants' actions violate the state

consumer protection laws of Arizona, California, Colorado, Connecticut, Minnesota,

New Mexico, North Carolina, South Carolina, and Tennessee. The defendants first

contend that all of the plaintiffs' state consumer protection claims should be dismissed,

arguing these claims are just repackaged antitrust claims. In support of this, the

defendants cite cases from this district that have dismissed state consumer protection

law claims when the plaintiffs "pleaded antitrust claims" and "merely alleged those

claims are also actionable under state consumer protection laws." See In re Opana ER

Antitrust Litig., 162 F. Supp. 3d 704, 726 (N.D. Ill. 2016).



                                             44
 Case: 1:24-cv-06795 Document #: 428 Filed: 06/03/25 Page 45 of 51 PageID #:3738




       The Court does not agree with this characterization of the direct action plaintiffs'

complaint. Although their complaint focuses primarily on the antitrust claims, the direct

action plaintiffs do allege harm to patients—the consumers—and explain how the

defendants' actions rise to violations of these consumer protection laws. See Direct

Action Compl. ¶¶ 588–628, 817–837. Specifically, these plaintiffs allege that the

defendants' "scheme to suppress and pay sub-market" rates for out-of-network services

harms consumers by: "(1) expos[ing] consumers to potential liability for the difference

between the suppressed rates [the defendants] pay and the UCR rates and (2) results

in eventual denial of services by and/or closure of certain providers (particularly in rural

areas), thereby suppressing consumer choice of out-of-network goods and services."

Id. ¶ 821.

       The defendants contend that the plaintiffs have not plausibly alleged these harms

because they are contradicted by other factual allegations in the complaint, which

indicate providers cannot charge or deny services to patients due to the defendants

wide-spread agreement to fix out-of-network healthcare service prices. Yet the Federal

Rules of Civil Procedure allow a plaintiff to plead in the alternative and raise "as many

separate claims or defenses as it has, regardless of consistency." Fed R. Civ. P.

8(d)(3) (emphasis added). And the plaintiffs make clear in their complaint that these

state consumer protection claims are "pleaded in the alternative to the other claims."

Direct Action Compl. ¶ 818.

       Of course, a plaintiff's ability to plead in the alternative "does not license

disregard of the requisite pleading standards." Weddle v. Smith & Nephew, Inc., No. 14

C 9549, 2016 WL 1407634, at *4 (N.D. Ill. Apr. 11, 2016). Every claim, even if pleaded



                                              45
 Case: 1:24-cv-06795 Document #: 428 Filed: 06/03/25 Page 46 of 51 PageID #:3739




in the alternative, must be plausibly alleged to survive a motion to dismiss. Id.

(collecting cases). But the plaintiffs do plausibly allege specific facts that indicate a

harm to consumers. They allege that at least one healthcare provider has stated it will

no longer provide services to patients who utilize third-party payors that use MultiPlan

due to past underpayments by those third-party payors. Direct Action Compl. ¶ 591.

They also allege that several healthcare providers have closed or are on the brink of

closure due to third-party payors' underpayments for out-of-network services and that

two healthcare providers have expressly blamed MultiPlan for their closures—all of

which leads to patients having less access to healthcare. Id. ¶¶ 590–596. Whether or

not these allegations contradict others in the complaint, they provide an alternative

plausible basis for the direct action plaintiffs' consumer protection claims.

       Lastly, the defendants contend that the plaintiffs have not alleged the facts

required to satisfy specific elements in Arizona's, California's, Minnesota's, and

Colorado's consumer protection laws. These arguments are made in a conclusory

manner and lack cited supporting authority, so they are likely waived or forfeited. See

United States v. Berkowitz, 927 F.2d 1376, 1384 (7th Cir. 1991) ("[P]erfunctory and

undeveloped arguments, and arguments that are unsupported by pertinent authority,

are waived . . . ."). Still, the Court briefly considers the issues raised.

       First, the defendants argue that there are no alleged facts of a "deceptive

misrepresentation as required under Arizona, California, and Minnesota law." Mem. in

Supp. of Defs.' Mot. to Dismiss Direct Action Compl. at 38. Yet the direct action

plaintiffs do allege that the defendants "routinely and falsely represent that they

allegedly provide reasonable, competitive, and negotiated rates to out-of-network



                                              46
 Case: 1:24-cv-06795 Document #: 428 Filed: 06/03/25 Page 47 of 51 PageID #:3740




providers." Direct Action Compl. ¶ 696. They support this allegation with quotes from

United, Aetna, and Cigna in which they claimed to provide a "competitive" or "market-

based rate" while using MultiPlan. Id. But as discussed above, the plaintiffs have

plausibly alleged that third-party payors using MultiPlan were achieving agreed-upon,

noncompetitive rates. These statements thus plausibly support the direct action

plaintiffs' allegation that third-party payors made deceptive misrepresentations, to the

extent that is required by Arizona, California, and Minnesota consumer protection law.

         Second, the defendants contend that the direct action plaintiffs fail to allege

"reliance on any alleged statement as required by Arizona and Minnesota law." Mem. in

Supp. of Defs.' Mot. to Dismiss Direct Action Compl. at 38. As an initial note, it does not

appear that Minnesota consumer protection law requires allegations of reliance:

"[a]llegations of reliance are not necessary to state a claim because the [Minnesota]

legislature had eliminated the requirement of pleading and providing traditional common

law reliance as an element." In re Soc. Media Adolescent Addiction/Pers. Inj. Prods.

Litig., 753 F. Supp. 3d 849, 919 (N.D. Cal. 2024) (quoting Wiegand v. Walser Auto.

Grps., 683 N.W.2d 807, 811 (Minn. 2004)) (cleaned up). It is undisputed, however. that

Arizona consumer protection law requires allegations of reliance to state a claim. See

also id. (citing Schellenbach v. GoDaddy.com, LLC, 321 F.R.D. 613, 624 (D. Ariz.

2017).

         Either way, the direct action plaintiffs do allege reliance. These plaintiffs allege

that they initially accepted out-of-network prices calculated by MultiPlan because they

were "under the misimpression . . . that the rates MultiPlan [was] communicating to

them [were] market based and determined independently by each payor" and they did



                                               47
 Case: 1:24-cv-06795 Document #: 428 Filed: 06/03/25 Page 48 of 51 PageID #:3741




"not have the data, resources, or time to understand" how the rates were calculated.

Direct Action Compl. ¶ 700. This is a plausible allegation of reliance on the defendants'

allegedly false statements that they provided competitive, market-based out-of-network

service price calculations.

       Finally, the defendants argue that the plaintiffs do not allege "any category of

conduct cognizable under Colorado law." Mem. in Supp. of Defs.' Mot. to Dismiss

Direct Action Compl. at 38. Yet the alleged misrepresentations discussed above

squarely implicate at least one "deceptive trade practice" as defined by Colorado's

consumer protection law: "[m]ak[ing] false or misleading statements concerning the

price of goods [or] services . . . or the reasons for, existence of, or amounts of price

reductions." See Color. Rev. Stat. § 6-1-105(1)(l). By allegedly misrepresenting the

competitive nature of MultiPlan's out-of-network service price calculations, the

defendants are alleged to have made "false or misleading statements" concerning both

the price of services and "the reasons for" "price reductions." The direct action plaintiffs

thus have plausibly alleged a deceptive trade practice under Colorado consumer

protection law.

       Because no other consumer protection law claims are in dispute, the Court finds

the direct action plaintiffs have plausibly alleged their state consumer protection claims

and denies the defendants' motion to dismiss these claims.

D.     Unjust enrichment

       Finally, the direct action plaintiffs claim unjust enrichment. Despite bringing this

claim under the laws of thirty-one states and the District of Columbia, the plaintiffs

devote only ten paragraphs in their complaint to describing these claims. See Direct



                                             48
 Case: 1:24-cv-06795 Document #: 428 Filed: 06/03/25 Page 49 of 51 PageID #:3742




Action Compl. ¶¶ 838–847. In doing so, the plaintiffs merely "list[] claims under various

state laws" as opposed to ”truly plead[ing] claims under those laws sufficient to show

their entitlement to recovery under them." In re Opana ER, 162 F. Supp. 3d at 726; see

also Iqbal, 556 U.S. at 678 ("A pleading that offers labels and conclusions or a formulaic

recitation of the elements of a cause of action will not do.") (cleaned up).

       The direct action plaintiffs contend that their pleading was sufficient, as unjust

enrichment has "materially the same" elements "throughout the states." Direct Action

Pls.' Opp'n to Mot. to Dismiss at 38. Yet "[u]njust enrichment is not a catch-all claim

existing within the narrow scope of federal common law." In re Wellbutrin XL,

260 F.R.D. at 167 (citing Woodward Governor Co. v. Curtiss Wright Flight Sys., Inc.,

164 F.3d 123, 129–30 (2d Cir. 1999)). As the defendants point out, "variances exist in

state common laws of unjust enrichment," including whether misconduct must "include

dishonesty or fraud" or whether "no adequate legal remedy" must exist. See Clay v.

Am. Tobacco Co., 188 F.R.D. 483, 501 (S.D. Ill. 1999) (collecting cases). These

differences have caused courts to repeatedly reject the assertion that "unjust

enrichment laws are essentially the same across the 50 states." See Vulcan Golf, LLC

v. Google Inc., 254 F.R.D. 521, 532–33 (N.D. Ill. 2008) (collecting cases finding class

certification unwarranted for unjust enrichment claims due to state law variances).

       By failing to differentiate between the unjust enrichment laws of the states the

direct action plaintiffs bring these claims under, the plaintiffs have not plausibly alleged

an unjust enrichment claim under any state law. The Court therefore grants the

defendants' motion to dismiss the direct action plaintiffs' unjust enrichment claims.




                                             49
 Case: 1:24-cv-06795 Document #: 428 Filed: 06/03/25 Page 50 of 51 PageID #:3743




E.     Group pleading

       Finally, the Court addresses the defendants' argument that the direct action

plaintiffs have failed to adequately plead facts specifically connecting three TPAs—

Benefit Plans Administrators, Consociate Health, and Secure Health—to their claims.

Under Rule 8 of the Federal Rules of Civil Procedure, a plaintiff need only provide a

"short and plain statement of the claim showing that the pleader is entitled to relief."

Fed. R. Civ. P. 8(a). "There is no 'group pleading' doctrine, per se, that either permits or

forbids allegations against defendants collectively." Sloan v. Anker Innovations Ltd.,

711 F. Supp. 3d 946, 955 (N.D. Ill. 2024) (quoting Robles v. City of Chicago, 354 F.

Supp. 3d 873, 875 (N.D. Ill. 2019)) (cleaned up). Rule 8 only requires that a complaint

provide "sufficient detail to put defendants on notice of the claims." Id. (citation

omitted); see also Bank of Am. v. Knight, 725 F.3d 815, 818 (7th Cir. 2013) ("Each

defendant is entitled to know what he or she did that is asserted to be wrongful.").

       The direct action plaintiffs have alleged enough facts to put these TPA

defendants on notice of the direct action plaintiffs' antitrust claims. These plaintiffs

allege that Benefit Plans Administrators, Consociate Health, and Secure Health all

contracted with MultiPlan to use its Data iSight algorithm. Direct Action Compl. ¶¶ 186,

189, 197. The defendants do not deny that these agreements exist. And as discussed

above, it is these agreements to use MultiPlan's pricing services that implicate the TPAs

as co-conspirators in a horizontal hub-and-spokes agreement to fix prices. The TPAs

thus know what actions they took that are "asserted to be wrongful," as required by Rule

8. Knight, 725 F.3d at 818. No more specificity is required at this stage of review.

Carbone, 621 F. Supp. 3d at 887 ("The plaintiffs are not required to cite evidence



                                             50
 Case: 1:24-cv-06795 Document #: 428 Filed: 06/03/25 Page 51 of 51 PageID #:3744




specific to each defendant in their complaint.").

                                        Conclusion

       For the reasons stated above, the Court grants the defendants' motions to

dismiss in part and denies them in part [dkt. nos. 282, 285]. The Court denies the

defendants' motions to dismiss the class action and direct action plaintiffs' federal and

state antitrust claims and the direct action plaintiffs' state consumer protection claims.

The Court dismisses the direct action plaintiffs' unjust enrichment claims. Counsel are

directed to meet and confer regarding a discovery and pretrial schedule and are to file a

joint status report with an agreed proposed schedule, or alternative proposals if they

cannot agree, by June 10, 2025. A video case management conference on June 17,

2025 at 10:00 a.m. Judge Kennelly's courtroom deputy clerk will send out a video

invitation in advance of the conference.

Date: June 3, 2025



                                                    ________________________________
                                                         MATTHEW F. KENNELLY
                                                         United States District Judge




                                             51
